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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT NEW YORK
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 DR. DEBORAH L. WORTHAM as Superintendent
 of the Roosevelt Union Free School District, ROSE
 GIETSCHIER, President of the Roosevelt Union Free
 School District Board of Education, THE BOARD OF
 EDUCATION OF THE ROOSEVELT UNION FREE                                    NOTICE OF APPEARANCE
 SCHOOL DISTRICT, ROOSEVELT UNION FREE
 SCHOOL DISTRICT and STUDENTS 1-5 for                                     Docket No.: 24-cv-3553
 themselves and for itself on behalf of its students (John
 and Jane 1-60 being student victims whose names are
 withheld for privacy purposes), staff and community,

                            Plaintiffs,

          -against-

 WANTAGH UNION FREE SCHOOL DISTRICT,
 LYNBROOK UNION FREE SCHOOL DISTRICT and
 NASSAU COUNTY PUBLIC HIGH SCHOOL ATHLETIC
 ASSOCIATION (SECTION VIII),

                             Defendants.
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          PLEASE TAKE NOTICE that CRISTINA A. SOLLER, of MORRIS DUFFY ALONSO

 FALEY & PITCOFF, hereby appears for defendant, LYNBROOK UNION FREE SCHOOL

 DISTRICT, and requests that a copy of all notices and other papers herein be served upon the

 undersigned.

 Dated: New York, New York
        October 30, 2024                                Yours, etc.,

                                                        MORRIS DUFFY ALONSO FALEY & PITCOFF


                                               By:      __s/ Cristina A. Soller_________
                                                        CRISTIN A. SOLLER
                                                        Attorneys for Defendant
                                                        Lynbrook Union Free School District
                                                        101 Greenwich Street, 22nd Floor
                                                        New York, New York 10006
                                                        Tel: (212) 766-1888


 TO:      ALL COUNSEL OF RECORD (VIA ECF)
